
PER CURIAM.
Writ granted. The decision of the court of appeal to grant the plaintiffs’ motion to strike the jury is reversed and the trial court’s ruling denying the motion to strike the jury is reinstated for the reasons explained by the trial court. See Berrigan v. Deutsch, Kerrigan &amp; Stiles, 04-0189 (La.3/26/04), 871 So.2d 332, citing State v. Walker, 95-0185 (La.6/30/95), 658 So.2d 190 (the right of a litigant to a jury trial is fundamental in character and the courts will indulge every presumption against a waiver, loss, or forfeiture).
KIMBALL and TRAYLOR, JJ., would deny the application.
